Case 2:04-CV-02003-SHI\/|-tmp Document 36 Filed 06/15/05 Page 1 of 2 Page|D 49

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IN THE UNITED STATES DISTRICT COURT FWED§%'}W;§_UC.
FOR THE WESTERN DISTRICT OF TENNESSEE _

wESTERN DIVISION 95 \_;UH 15 ppg 121 22

ROBER'F :): mmst

MELODY WINTERS, CLEF!.£'€` ~’L.i.E. UIS_I'. CT.
WD.GYTN.MEMHNS

Plaintiff,
VS. NO. O@~ZOOB-MaP

JOHN W. SNOW,
Secretary, Dept. of the Treasury,

Defendant.

 

ORDER REFERRING CASE FOR SETTLEMENT CONFERENCE

 

This matter is hereby referred to Magistrate Judge Tu Pham
for a Settlement conference at a time to be determined by the
magistrate judge.

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It is 50 ORDERED this />/( day Of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

